          Case 1:21-cv-11181-PBS Document 43-1 Filed 09/24/21 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS



  INA STEINER, DAVID STEINER, and
  STEINER ASSOCIATES, LLC,

              Plaintiffs,

     v.                                               CIVIL ACTION NO.: 1:21-CV-11181-DPW

  EBAY INC., ET AL.,

              Defendants.


  CERTIFICATE OF GOOD STANDING FOR MARK R. CONRAD IN SUPPORT OF
                MOTION FOR ADMISSION PRO HAC VICE

         I, Mark R. Conrad, declare as follows:

          1.       I am a partner in the law firm of Conrad | Metlitzky | Kane LLP in its San

Francisco, California office. I am providing this certification in support of the accompanying

motion for leave to appear pro hac vice. I have personal knowledge of each of the facts stated

below.

         2.        My business address is Four Embarcadero Center, Suite 1400, San Francisco,

California 94111. My business phone number is (415) 343-7102. My business fax number is

(415) 343-7101. My email address is mconrad@conmetkane.com.

         3.        I am a member of the bar in good standing in every jurisdiction in which I have

been admitted to practice, namely: the California State Bar. Further, I am admitted to and a

member in good standing of the United States District Court for the Northern District of

California, the Third Circuit Court of Appeals, the Ninth Circuit Court of Appeals, the United




                                                  -1-
         Case 1:21-cv-11181-PBS Document 43-1 Filed 09/24/21 Page 2 of 2




States District Court for the Central District, the Unites States District Court for the Eastern

District, and the United States District Court for the Southern District.

       4.      I have never been suspended or disbarred in any jurisdiction, nor have I been the

subject of any professional disciplinary action, nor do I have complaints or other proceedings

pending against me before any disciplinary board, commission, court or bar association.

       5.      I have not previously had a pro hac vice admission to this Court (or any other

admission to this Court) revoked for misconduct.

       6.      I have read and agree to comply with the Local Rules of the United States District

Court for the District of Massachusetts.




Dated: September 24, 2021                              /s/ Mark R. Conrad
                                                       Mark R. Conrad (CA Bar No. 255667)
                                                       CONRAD | METLITZKY | KANE LLP
                                                       Four Embarcadero Center, Suite 1400
                                                       San Francisco, CA 94111
                                                       Tel: 415-343-7102
                                                       Fax: 415-343-7101
                                                       Email: mconrad@conmetkane.com




                                                -2-
